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Alaska
Under Alaska law, “a DNA sample and the results of a DNA analysis performed on the sample
are the exclusive property of the person sampled or analyzed.” (AS 18.13.010(a)(2) (emphasis
added)). 23andMe possesses no property rights in these samples or in these results. It therefore
cannot sell them, because it has no property right to sell. 23andMe merely retains the samples
and results on behalf of the Alaskans who actually own the samples, and who have the statutory
right to revoke 23andMe’s ability to retain the samples and results at any time. (AS
18.13.010(c)).

At most, Alaska law provides that the results of DNA testing can be “disclosed” (again, without
transferring any property rights). However, it is illegal and, if done knowingly, a crime, for a
person to analyze DNA samples, retain DNA samples, or disclose DNA test results without the
informed written consent of the person whose genes the DNA reflects or their legal guardian or
authorized representative. (AS 18.13.010(a); AS 18.13.030). “A general authorization for the
release of medical records or medical information may not be construed as the informed and
written consent” required by Alaska’s genetic privacy law. (AS 18.13.010(c)).

In short, 23andMe cannot sell Alaskans’ DNA samples or test results because it has no property
interest to sell. It cannot disclose the results of an Alaskan’s DNA test unless it has the informed,
written consent of its Alaskan owner, and the person to whom 23andMe might disclose the
results to cannot retain or disclose them without the informed, written consent of the Alaskan
owner. Again, Alaskans retain the right to revoke their consents at any time. (AS 18.13.010(c)).

Arizona
Arizona law requires direct-to-consumer genetic testing companies to obtain separate express
consent from the consumer for the specific purpose of transferring or disclosing the consumer’s
genetic data to a buyer. Ariz. Rev. Stat. §§ 44-8001(5), 44-8002(A)(2)(b)(i). This separate
consent requirement is backed by significant privacy protections for a consumer’s genetic
information. Ariz. Rev. Stat. § 44-8002(A)(6). The results of genetic testing are confidential and
considered privileged to the consumer tested, and can only be released to: the consumer, anyone
that the consumer authorizes in writing to receive it, or the consumer’s healthcare decision
maker. Ariz. Rev. Stat § 12-2082(A). In addition, separate express consent from the consumer
must be provided for the direct-to-consumer genetic testing company to use the consumer’s
genetic data beyond the primary purpose of the genetic testing product and its inherent
contextual uses. Ariz. Rev. Stat. § 44-8002(A)(2)(b)(iii). Notwithstanding any other consent
obtained, a direct-to-consumer genetic testing company may never disclose consumer genetic
data to any entity offering health insurance, life insurance, or long-term care insurance or to any
employer of a consumer. Ariz. Rev. Stat. § 44-8002(B).

Further, under Arizona law the genetic testing information of a deceased consumer cannot be
transferred at all based on consent provided by the consumer while still alive. See Ariz. Rev. Stat



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§ 12-2082(F). Rather, it can only be released to the deceased consumer’s last healthcare
decisionmaker and the personal representative of the consumer’s estate or next of kin. Ariz. Rev.
Stat § 12-2294(D). And a deceased consumer’s testamentary document may impose further
limitations on the release of genetic testing information. Ariz. Rev. Stat § 12-2082(F).

Colorado
Genetic data constitutes sensitive data under the Colorado Privacy Act. C.R.S. 6-1-1303(24)(b).
Pursuant to C.R.S. 6-1-308(7), controllers are required to obtain a consumer’s consent prior to
selling their sensitive data.

Delaware
Delaware law, DEL. CODE ANN. TIT. 16, §§ 1201 to 1208, prohibits the disclosure of genetic
information about an individual in a manner that permits identification of the individual without
obtaining informed consent of the tested individual describing the information to be disclosed
and to whom the information will be disclosed.

Florida
Florida’s “Protecting DNA Privacy Act” was signed into law on June 29, 2021 and took effect
on October 1, 2021as Florida Statute § 817.5655, Unlawful Use of DNA. The law enhances
individual ownership over one’s genetic information. The law restricts the use and handling of
DNA without express consent.
The law includes criminal penalties up to a second-degree felony in the State of Florida for
violation of the statute.

Florida’s law requires “express consent” to: 1) collect or retain another person’s DNA sample
with the intent to perform DNA analysis;
2) submit another person’s DNA sample for DNA analysis or conduct or procure the conducting
of another person’s DNA analysis;
3) disclose another person’s DNA analysis results to a third party; and
4) sell or otherwise transfer another person’s DNA sample or the results of another person’s
DNA analysis to a third party, regardless of whether the DNA sample was originally collected,
retained or analyzed with express consent.

Illinois
Under Illinois’s Genetic Information Privacy Act, 410 ILCS 513/1, et seq. (Act), all medical and
commercial genetic testing and information derived therefrom is confidential and privileged and
may be released only to the individual tested and to persons specifically authorized by that
individual in writing to receive the information. The Act forbids disclosure of testing results to
another person except as authorized under the Act.

 The Act permits disclosures without express written consent in some circumstances for certain
law enforcement and health care purposes. However, the Act prohibits the solicitation of genetic



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testing or genetic information as a condition of employment, preemployment application, labor
organization membership, or licensure.

Kentucky
Kentucky’s genetic privacy statute, KRS 311.705, effective July 14, 2022, requires 23andMe to
obtain “express consent” for “transferring or disclosing the consumer’s genetic data to any
person other than the company’s vendors and service providers, or for using genetic data beyond
the primary purpose of the genetic testing product or service and inherent contextual uses.

Maryland
Maryland’s Genetic Information Privacy Act (“Maryland’s GIPA”) regulates direct-to-consumer
(“DTC”) genetic testing companies like 23andMe, creating obligations for the collection, use,
and disclosure of genetic data. Among other things, Maryland’s GIPA requires DTC companies
to obtain “express consent for transferring or disclosing the consumer’s genetic data to a person
other than the company’s vendors or service providers” and for “using genetic data beyond the
primary purpose of the genetic testing product or service requested by the consumer.” Md.
Com. Law §§ 14-4404(2) and (3). Maryland’s GIPA further states that express consent requires
an “affirmative response by a consumer to a specific, discrete, freely given, and unambiguous
notice regarding the collection, use, or disclosure of the consumer’s genetic data for a specific
purpose. Id. at § 14-4401(f) (emphasis added). In order to sell or transfer genetic data, 23andMe
must obtain express consent from the consumer in accordance with Maryland’s GIPA.
Obtaining explicit, affirmative consent from consumers before transferring genetic data in
bankruptcy is especially critical in light of Maryland’s strict ban on sharing data collected by
DTC companies, absent consent, with insurers or employers. Id. at § 14-4405(d). Without this
consent, consumers who relied on this protection when providing their genetic data, could
unexpectedly lose it, potentially facing serious negative consequences.

Minnesota
Minnesota’s Genetic Information Privacy Act forbids the sale or transfer of genetic information
without the consumer’s express consent. The law specifies that a direct-to-consumer genetic
testing company must obtain “separate express consent” before each transfer or disclosure of the
consumer’s genetic data or biological sample to any person other than the company’s vendors
and service providers. Minn. Stat. § 325F.995, subd. 2(a)(2)(ii) (emphasis added). The law also
requires “separate express consent” from the consumer for each use of genetic data or biological
sample that is beyond the primary purpose of genetic testing services. Id. § 325F.995, subd.
2(a)(2)(iii). Because the sale of genetic data in this bankruptcy matter contemplates both the
transfer and disclosure of genetic material to persons other than 23andMe, and is outside of the
primary purpose and services provided by 23andMe, Minnesota law requires each consumer
provide separate express consent before their genetic data or biological sample is sold or
transferred to another company. Under Minnesota’s law, express consent means “a consumer’s



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affirmative written response to a clear, meaningful, and prominent written notice,” which may be
presented and captured electronically. Id. § 325F.995, subd. 1(f).

Montana
Montana law requires express consent for the sale of consumer genetic data. Mont. Code Ann. §
30-23-104(3)(c)(iii). Montana law also requires express consent for the use of consumer genetic
data “beyond the primary purpose of the entity’s genetic testing product or service.” Mont. Code
Ann. § 30-23-104(3)(a)(ii). Finally, Montana law restricts where genetic data of Montana
residents may be stored and imposes additional consent requirements on storing genetic data
outside the United States. Mont. Code Ann. § 30-23-104(7).

New Hampshire
New Hampshire has a genetic privacy statute (N.H. RSA § 141-H) and data privacy statute (N.H.
RSA § 507-H) which prohibits the sale of genetic data without consent. The genetic privacy
statute applies to genetic testing which is defined as any test that identifies the “presence,
absence or alteration” of any gene or chromosome as well as any “report, interpretation or
evaluation” of such a test. The statute prohibits both the disclosure that an individual has
undergone genetic testing as well as the results of the test absent prior written and informed
consent of the individual, or that of a guardian if the individual is a minor. In addition, under the
data privacy statute, genetic testing data of the type collected by 23andMe would be considered
Sensitive Data. Although the definition of “sale of personal data” does not include the transfer of
personal data as a bankruptcy asset, Sensitive Data is held to a higher standard than general
personal data under N.H. RSA 507-H. It is the State’s position that the processing required to
transfer Sensitive Data as a bankruptcy asset requires consumer consent under N.H. RSA 507-
H:6, in addition to the parallel requirements of N.H. RSA 141-H.

New Jersey
The New Jersey Genetic Privacy Act, N.J.S.A 10:5-43 to 49, requires informed consent prior to
obtaining an individual’s genetic information. The New Jersey Data Privacy Law, N.J.S.A. 56:8-
166.4 to 166.19, covers genetic/biometric data and requires that a controller “clearly and
conspicuously disclose such sale or processing, as well as the manner in which a consumer may
exercise the right to opt out of such sale or processing.

New Mexico
New Mexico law requires informed and written consent for the collection, analysis, retention,
transmission, or use of genetic information. Therefore, any sale or transfer of such data by
23andMe must be preceded by obtaining express consent from the individual, in accordance with
NMSA 1978, §§ 24-21-3 and 24-21-5.




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New York
Under New York Civil Rights Law (CVR) § 79-L, any further disclosure of genetic test results to
individuals or organizations not initially named in the informed consent requires the further
informed consent of the subject of the test.

North Carolina
The North Carolina Unfair and Deceptive Trade Practices Act, N.C.G.S. § 75-1.1, prohibits
unfair and deceptive acts in commerce. 23andMe’s potential sale of consumers’ personally
identifiable information, including their genetic information, may be both deceptive and unfair
under North Carolina law.

Pennsylvania
The Commonwealth of Pennsylvania, Office of Attorney General, Bureau of Consumer
Protection (“Commonwealth of PA”) generally objects to the sale of consumers’ personally
identifiable genetic information (“PIGI”) collected by, and in the possession of, Debtors in this
bankruptcy. It has been widely acknowledged, including by Debtors, that at different times
during the course of the operation of Debtors’ business, Debtors employed varying versions of a
privacy policy. Notably, Debtors’ historic privacy policies have been more restrictive than
Debtors’ privacy policy currently in effect. Therefore, a vast number of consumers agreed to
purchase Debtors’ services and provide their PIGI with the expectation that their PIGI would not
be transferred or sold to an unrelated or unaffiliated third party, at least not without consumers’
express consent.

Therefore, the Commonwealth of PA asserts that the proposed sale or transfer of consumers’
PIGI is prohibited by, and unlawful under, the Pennsylvania Unfair Trade Practices and
Consumer Protection Law (“PA Consumer Protection Law”), 73 P.S. § 201-1 et seq. The PA
Consumer Protection Law declares unlawful certain unfair methods of competition and unfair
and deceptive acts or practices in the conduct of any trade or commerce which is defined, in part,
to include “engaging in any other fraudulent or deceptive conduct which creates the likelihood of
confusion or misunderstanding.” 73 P.S. § 201-2(4)(xxi). The Pennsylvania Supreme Court has
long recognized that the PA Consumer Protection Law is to be construed liberally so that
unfairness and deception in all consumer transactions be halted. Commonwealth v. Monumental
Properties, 459 Pa. 450, 461, 329 A.2d 812, 817 (1988). The PA Consumer Protection Law was
designed to promote full disclosure of information to consumers. Gabriel v. O’Hara, 368 Pa.
Super. 383, 534 A.2d 488, 491, n.6 (1987).

Indeed, for many consumers the sale of their PIGI would violate the privacy policies to which
they may have previously consented, and, therefore, violates the PA Consumer Protection Law.

South Carolina
South Carolina law forbids the sale or transfer of genetic information without express consent.
See S.C. Code Ann. section 38-93-40.



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Tennessee
Tennessee’s Genetic Information Privacy Act (“GIPA”) regulates direct-to-consumer genetic
testing companies, such as 23andMe. See Tenn. Code Ann. § 47-18-4902, 4904. The GIPA
requires direct-to-consumer genetic testing companies to obtain express consent before
collecting, using, or disclosing a consumer’s genetic data. Id. § 47-18-4904(a)(2). In obtaining
such consent, the company must (1) clearly describe its use of the genetic data, (2) specify who
has access to any test results, and (3) specify how the company may share the genetic data. Id. A
company must also obtain separate express consent before, among other things, (1) transferring
or otherwise disclosing a consumer’s genetic data to a person other than the company’s vendors
or service providers or (2) using the genetic data beyond the primary purpose of the company’s
genetic testing product or service. Id. § 47-18-4904(a)(3)(A)(i)-(iii). Under the GIPA, express
consent means a consumer’s affirmative response to a “clear, meaningful, and prominent notice
regarding the collection, use, or disclosure of genetic data for a specific purpose.” Id. § 47-18-
4902(6). The GIPA also requires companies to provide a process by which consumers can (1)
access their genetic data, (2) delete their account and genetic data, and (3) destroy their
biological sample. Id. § 47-18-4904(a)(6)(A)-(C).

On July 1, 2025, the Tennessee Information Protection Act (“TIPA”) will become effective. The
TIPA provides Tennessee consumers with certain personal information rights and places new
obligations on controllers and processors of data, among other things. Under the TIPA,
consumers have the right to access, correct, delete, and obtain a copy of their data, as well as a
right to opt-out of the sale or processing of their personal information for certain purposes. Tenn.
Code Ann. § 47-18-3304. The TIPA also imposes key requirements on data controllers,
including a duty to: (1) provide a clear, meaningful privacy notice; (2) limit the collection of
personal information to what is adequate, relevant, and reasonably necessary for the disclosed
purposes; (3) not process personal information for purposes beyond what is reasonably necessary
and compatible with the disclosed purposes, unless consent is obtained; (4) not process sensitive
data without a consumer’s express consent; (5) clearly disclose the sale of personal information
to third parties; (6) establish and maintain reasonable data security practices to protect the
confidentiality, integrity, and accessibility of personal information; and (7) provide a secure,
reasonable means for consumers to exercise their rights under the statute, among other things. Id.
§ 47-18-3305. Under the TIPA, consent means “a clear affirmative act signifying a consumer's
freely given, specific, informed, and unambiguous agreement to process personal information
relating to the consumer.” Id. § 47-18-3302(6)(A). Though the TIPA excludes bankruptcy
acquisitions from the definition of a “sale”, neither the TIPA nor the GIPA include blanket
applicability exemptions for entities in bankruptcy.

Texas
The Texas Direct-to-Consumer Genetic Testing Act (the “DTC Genetic Testing Act”) regulates
companies like 23andMe and provides consumers with certain rights and protections over their
biological samples and genetic data. See Tex. Bus. & Com. Code §§ 503A.001-.008. Under the



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DTC Genetic Testing Act, Texans have an exclusive property right in, and right to exercise
exclusive control over, their biological sample and genetic data. Id. § 503A.003. Debtors must
obtain Texans’ separate express consent to (a) transfer or disclose the individual’s genetic data
to any person other than the company’s vendors and service providers; (b) use genetic data for a
purpose other than the primary purpose of the company’s genetic testing product or service; or
(c) retain the biological sample following completion of the initial testing service. Id.
§ 503A.006(a)(1). Specifically, the Debtors must obtain a separate “affirmative response to a
clear and meaningful notice regarding the collection, use, or disclosure of genetic data for a
specific purpose.” Id. § 503A.001(5). The consumer’s click-through acceptance of 23andMe’s
Terms of Service and Privacy Statement upon signing up for services does not meet the separate
express consent requirement as defined by the DTC Genetic Testing Act. 23andMe may not
transfer or disclose Texans’ genetic data and biological samples or deprive Texans of their
property rights and rights to exercise exclusive control without their separate express consent.

Further, under the Texas Data Privacy and Security Act (the “TDPSA”), Debtors must obtain a
Texan’s consent to process their sensitive data. See Tex. Bus. & Com. Code §§ 541.101(b)(4).
“Processing” includes the disclosure of personal information, including sensitive data such as a
Texan’s genetic or biometric data and mental or physical health diagnosis. Id. § 541.001(22)
(defining “process” to include disclosure) and § 541.001(29) (defining “sensitive data”). Consent
under the TDPSA “means a clear affirmative act signifying a consumer’s freely given, specific,
informed, and unambiguous agreement to process personal data relating to the consumer.” Id. §
541.001(6). A consumer’s consent is not obtained through the “acceptance of a general or broad
terms of use or similar document that contains descriptions of personal data processing along
with other, unrelated information; hovering over, muting, pausing, or closing a given piece of
content; or agreement obtained through the use of dark patterns.” Id. The click-through
acceptance of 23andMe’s Terms of Service and Privacy Statement does not meet the consent
requirement as defined under the TDPSA. 23andMe does not have the requisite consent of
Texans to disclose their genetic data and medical information to a third-party buyer.

Utah
Utah Code § 13-60-104(1)(c) (“Utah Genetic Information Privacy Act”) requires 23andMe to
obtain a consumer’s separate express consent for the transfer or disclosure of the consumer’s
genetic data to any person other than the company’s vendors and service providers. Utah’s
Genetic Information Privacy Act further states that express consent requires 23andMe to obtain a
consumer’s affirmative response to a clear, meaningful, and prominent notice regarding any
transfer.

Vermont
The Vermont Consumer Protection Act, 9 V.S.A. Chapter 63, prohibits unfair and deceptive acts
in commerce. 23andMe’s potential sale of consumers’ personally identifiable information,
including their genetic information, may be both deceptive and unfair under Vermont law.
23andMe’s sale of consumers’ personally identifiable information may amount to deceptive



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conduct to the extent that 23andMe made representations to consumers that their information
would be protected, secured, and/or otherwise under consumers’ control, whether those
representations were made in 23andMe’s advertisements or in the various versions of 23andMe’s
publicly available privacy policies at the time of consumers’ purchases. 23andMe’s sale of this
information may also constitute unfair business practices to the extent such sale may cause a
substantial injury to consumers. The Vermont Supreme Court has held that the Vermont
Consumer Protection Act is a remedial statute that must be applied liberally to accomplish its
purposes, meaning that Vermont courts will defer to broader interpretations of the statute when
assessing whether any particular acts affecting consumers might implicate the act’s prohibitions.
Carter v. Gugliuzzi, 168 Vt. 48, 52, 716 A.2d 17, 21 (1998).

Virginia
Virginia has a Genetic Data Privacy law which states that “[e]very direct-to-consumer genetic
testing company shall obtain a consumer’s express consent for the collection, use, and disclosure
of the consumer’s genetic data, including, at a minimum, separate and express consent for . . .
[e]ach transfer or disclosure of the consumer’s genetic data or biological sample to a third party
other than a service provider, including the name of the third party to which the consumer’s
genetic data or biological sample will be transferred or disclosed.” Va. Code § 59.1-
596(B)(4). If a direct-to-genetic data testing company fails to comply with this requirement, the
Attorney General may bring an enforcement action to obtain injunctive relief and seek civil
penalties, attorney fees, and expenses. Va. Code. § 59.1-601. In addition, genetic data is defined
as sensitive data under Virginia’s Consumer Data Protection Act. Va. Code § 59.1-575. This
Act requires that controllers “[n]ot process sensitive data concerning a consumer without
obtaining the consumer’s consent.” Va. Code § 59.1-578(A)(5).




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